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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 20-22182-CIV-ALTONAGA/Goodman

  GISNET THIMOGENE,

          Plaintiff,
  v.

  JC BAKESHOP, INC.; et al.,

        Defendants.
  __________________________/

                         ORDER ADMINISTRATIVELY CLOSING CASE

          THIS CAUSE came before the Court upon the Plaintiff’s Notice of Settlement [ECF No.

  17], filed on June 30, 2020. The Court having carefully reviewed the file, and being otherwise

  fully advised, it is

          ORDERED AND ADJUDGED that the above styled action is administratively

  CLOSED without prejudice to the parties to comply with the Order Requiring Submission of

  Settlement Agreement for Court Approval, entered separately on this date. Any pending motions

  are denied as moot.

          DONE AND ORDERED in Miami, Florida, this 30th day of June, 2020.



                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
